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                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )       CR 108-062
                                            )
EDWARD JEROME NEWS OME                      )



                                      ORDER

       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of

the Court. Therefore, the "Motion to Suppress Drugs Seized at 2412 Mt. Auburn St.,

Augusta, GA on October 25, 2007" is DENIED. (Doc. no. 288).

       SO ORDERED this/ day of October, 2008, at Augusta, Georgia.
